             Case 2:05-cr-00034-KJM Document 42 Filed 07/26/05 Page 1 of 2


1    McGREGOR W. SCOTT
     United States Attorney
2    ANNE PINGS
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2785

5

6

7

8                       IN THE UNITED STATES DISTRICT COURT

9                     FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA             ) CR. NO. S-05-0034-LKK
12                                        )
                       Plaintiff,         )
                 v.                       ) ORDER SETTING STATUS DATE
13
                                          ) AND EXCLUDING TIME
     LINDA CHANEY,                        )
14   JAY McCASTLE,                        )
     DAVID TALCOTT USSERY, and            )
15   ROBERT ROBINSON,                     )
16                                        )
                       Defendants.
                                          )
17

18        Based upon request of the parties and representations made in

19   open court on July 26, 2005, IT IS HEREBY ORDERED:

20        This matter is set over for a motions hearing on October 25,

21   2005.

22        The defendants< motions shall be due September 26, 2005, the

23   government<s oppositions due October 11, 2005; defendants< reply

24   briefs due October 18, 2005.

25        The Court finds that the matter is complex in that there are

26   multiple defendants, evidence on tapes that need to be reviewed with

27   incarcerated defendants, and that the defendants< counsel reasonably
           Case 2:05-cr-00034-KJM Document 42 Filed 07/26/05 Page 2 of 2


1    require additional time to review discovery with their clients and

2    to conduct investigation for effective preparation of the motions to

3    be filed on behalf of their clients.

4         The Court further finds that the ends of justice served by

5    granting the defendant's counsel time to diligently prepare motions

6    outweigh the best interest of the defendant and the public in a

7    speedy trial.

8         Accordingly, the Court orders that time shall be excluded until

9    the filing of motions under the Speedy Trial Act, 18 U.S.C. §

10   3161(h)(8)(ii) (T-2 / complexity) and 18 U.S.C. § 3161(h)(8)(iv) (T-

11   4 / preparation of counsel).

12

13

14   Dated: July 26, 2005                   /s/ Lawrence K. Karlton
                                            HON. LAWRENCE K. KARLTON
15                                          UNITED STATES DISTRICT JUDGE
16

17

18

19

20

21

22

23

24

25

26

27
